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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS


ELECTION SYSTEMS & SOFTWARE, LLC,

                Plaintiff,

v.                                                       No. 1:18-cv-06523

                                                         Hon. Gary Feinerman
COUNTY OF COOK, a body politic and
corporate organized under the laws of the State
of Illinois,

COOK COUNTY BOARD OF
COMMISSIONERS,

and

COOK COUNTY OFFICE OF THE CHIEF
PROCUREMENT OFFICER,

                Defendants.


      NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO F.R.C.P. 41(a)(1)(A)(i)

        Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff Election Systems &

Software, LLC hereby gives notice that the above-captioned action is voluntarily dismissed,

without prejudice, against the Defendants. This action was filed on September 25, 2018. No

Defendant has appeared or filed a responsive pleading.




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                                           Respectfully submitted,

                                           ELECTION SYSTEMS & SOFTWARE LLC

                                           By:    s/ Thomas R. Dee
                                                 One of Its Attorneys

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Dated: October 15, 2018




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